     Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 1 of 15




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

QUANTLAB TECHNOLOGIES LTD.                       §
(BVI) AND QUANTLAB FINANCIAL,                    §
LLC,                                             §
                                                 §
         Plaintiffs,                             §
                                                 §      CIVIL ACTION NO. H-09-4039
v.                                               §
VITALIY GODLEVSKY, ANDRIY                        §
KUHARSKY, ANNA MARAVINA, PING                    §
AN, EMMANUEL MAMALAKIS, AND                      §      JURY DEMANDED
SXP ANALYTICS, LLC,                              §
                                                 §
         Defendants.                             §

                  PLAINTIFFS’ FIRST MOTION TO COMPEL DISCOVERY
                         FROM DEFENDANT SXP ANALYTICS

         Plaintiffs (“Quantlab”) request that the Court order Defendant SXP Analytics (“SXP”) to:

(1) produce relevant documents; (2) fully answer (instead of evade) interrogatories that seek to

discover basic facts; and (3) fully respond to (instead of evade) requests for admission that seek

to properly narrow the disputed issues in this case.

                                             I.
                                        BACKGROUND

         Early in this case, Quantlab served a comprehensive set of written discovery requests on

SXP—Quantlab’s First Requests for Admissions (“First RFAs”), First Requests for Production

(“First RFPs”), and First Set of Interrogatories.1 Those requests largely sought to determine the

extent and circumstances of SXP’s possession and use of Quantlab intellectual property.

         SXP responded to Quantlab’s initial written discovery by comprehensively stonewalling,

hiding behind improper and often nonsensical objections and evasive responses.2 To further its

1
     Exhibits A, B, C, respectively.
2
     Exhibits D, E, F.
                                                 1
    Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 2 of 15




stonewalling efforts, SXP even filed an expedited motion to stay discovery pending a frivolous

Rule 11 sanctions motion, decrying Quantlab’s claims against it as so “baseless” that Quantlab

should not even be allowed to obtain the written discovery it sought.3 After the Court denied

SXP’s motion to stay, SXP had to admit—in some of the same discovery it had tried to thwart—

that the FBI had found Quantlab code on SXP computers.4 However, SXP continued to conceal

all further information about its possession of Quantlab’s intellectual property.

        While this civil case was stayed to allow the Justice Department’s criminal investigation

to finish, the extent of the wrongdoing that SXP was attempting to evade and conceal became

more clear. Among other things, the Justice Department’s investigation revealed that:

               SXP’s Houston offices and the homes of certain of its principals contained more

                than 750,000 electronic files taken from Quantlab;

               SXP’s principals’ prior assurances to Quantlab that they did not have any

                computer code, electronic files, or other intellectual property belonging to

                Quantlab were outright lies;

               Numerous Quantlab source code files had been accessed on the SXP workstation

                of one of SXP’s principals, and an attempt had even been made to compile certain

                Quantlab code on behalf of SXP; and

               Highly sophisticated, proprietary Quantlab software named QuoteServer4—which

                had only recently been developed by Quantlab—had been accessed on the SXP

                computers of two of SXP co-founders.5


3
    See Dkt. ## 43, 46.
4
    See Exhibit D, SXP’s Objections and Responses to Quantlab’s First RFAs, No. 53.
5
    See Exhibit H, August 30, 2011 Letter from AUSA Robert Johnson to Criminal Counsel. For some
    reason, SXP and its counsel continue to ignore the government’s findings and pretend they have no
    [footnote continued on next page . . . ]

                                                  2
    Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 3 of 15




Toward the end of the stay, SXP even filed a lawsuit in Wisconsin against one of its co-founders

(Defendant Godlevsky), accusing him of “mis-conduct” regarding his possession of “Quantlab

computer code, computer files, or other confidential and proprietary information in the course of

SXP’s business.”6

        After the Court lifted the stay, Quantlab immediately requested, in a detailed letter, that

SXP supplement and/or amend its responses to a number of Quantlab’s initial written discovery

requests.7 SXP has refused to do so. Instead, SXP has apparently decided to continue to conceal

documents and information regarding the identity of the Quantlab files in its possession, how it

got them, why it has them, and what it has done with them—i.e., information at the center of

Quantlab’s initial discovery requests and, now, at the center of this motion.

                                         II.
                          NATURE AND STAGE OF PROCEEDINGS

        The Court is well-versed in the background of this case. Quantlab brought this suit in

response to SXP and other defendants’ conspiracy to copy, steal, and exploit Quantlab’s highly

valuable trading strategy—including its proprietary source code and the concepts underlying the

strategy—for the defendants’ own financial benefit. The causes of action brought by Quantlab in

the Second Amended Complaint (the live pleading) include violations of the Copyright Act (17

U.S.C. § 101, et seq.), violations of the Computer Fraud and Abuse Act (18 U.S.C. § 1030, et

seq.), and several state law causes of action, including misappropriation of trade secrets.



    significance to this civil case. See also Exhibit I, Vitaliy Godlevsky Depo., 134:6–136:25 (SXP co-
    founder and former Quantlab employee denying possession of Quantlab code or files); Exhibit J,
    Andriy Kuharsky Depo., 52:7–9; 102:15–18; 102:24–103:5 (other SXP co-founder and former
    Quantlab employee making similar sworn denials); Exhibit K, June 15, 2007 Letters from T.J. Wray
    to Tim McInturf (counsel for Godlevsky and Kuharsky assuring counsel for Quantlab that Godlevsky
    and Kuharsky had no Quantlab files and would honor their Proprietary Information Agreements).
6
    See Exhibit L, Complaint in SXP v. Godlevsky Wisconsin State Court Suit, ¶¶ 15, 21, 36, 38, 41-42.
7
    See Exhibit G, December 20, 2011 Letter from Tim Rybacki to David Hanson.

                                                   3
    Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 4 of 15




       On February 15, 2012, the Court entered an Agreed Protective Order (Dkt. #140). The

case is now in the early stages of discovery.

                                         III.
                                STATEMENT OF THE ISSUES

       Whether the Court should order SXP to produce relevant documents requested by

Quantlab and provide full and non-evasive answers to Quantlab’s First Set of Interrogatories and

First RFAs, which seek basic facts regarding the issues in this lawsuit.

                                          IV.
                                   STANDARD OF REVIEW

       The primary purpose of discovery is to “allow the parties to develop fully and crystallize

concise factual issues for trial.” Burns v. Thiokol Chem. Corp., 483 F.2d 300, 304 (5th Cir.

1973). Full and complete discovery helps to “prevent prejudicial surprises and conserve precious

judicial energies.” Id. Federal Rule of Civil Procedure 26 permits discovery of any non-

privileged information that is “relevant to the claim or defense of any party.” FED. R. CIV. P.

26(b)(1).   “[I]nformation is relevant if it encompass[es] any matter that bears on, or that

reasonably could lead to other matter that could bear on, any issue that is or may be in the case.”

Coughlin v. Lee, 946 F.2d 1152, 1159 (5th Cir. 1991).

       “For good cause, the court may order discovery of any matter” within the scope outlined

by Rule 26. FED. R. CIV. P. 26(b)(1). With respect to requests for admission, the Court “must

order that an answer be served” unless the Court finds an objection to be justified. FED. R. CIV.

P. 36(a)(6). The same is true on a motion to compel answers to interrogatories and responses to

requests for production. See FED. R. CIV. P. 37(a)(3). In all cases, the party resisting discovery

has “the burden . . . to clarify and explain their objections and to provide support for those

objections.” Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005).



                                                 4
     Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 5 of 15




                                           V.
                                ARGUMENT AND AUTHORITIES

         SXP has continuously refused to produce or disclose even the most basic documents and

information in discovery. The Court should overrule SXP’s objections to the requests identified

in this motion, and allow Quantlab to obtain the discovery to which it is entitled.

A.       Quantlab Is Entitled to Non-Evasive Answers to Its First Request for Admissions

         SXP’s answers to Quantlab First RFAs are evasive at best, and its objections are aimed at

doing nothing more than obstructing proper discovery. Those objections to the RFAs at issue in

this motion (Nos. 1-16, 24-37, 55-63, 66-86, 99, and 101-103) are basically of two types—(1)

objections on grounds of vagueness and ambiguity; and (2) objections that claim the Quantlab

code or other files at issue have not been sufficiently identified. Neither of these objections has

any merit, and their abusive nature is readily apparent.

         First, to escape providing relevant discovery, SXP frivolously lodged many “vague and

ambiguous” objections to industry terms, such as computer code, source code, executable code,

automated trading, high-frequency trading, and profits.8 Many of these supposedly vague terms

are explicitly defined in Quantlab’s First RFAs.9 And the other terms are so fundamental that

they could hardly be defined further. In fact, SXP has understood many of these “vague” terms

well enough to use in its own pleadings, despite feigning hopeless confusion when those same

terms are used by Quantlab.10

         As just one example of SXP’s gamesmanship, SXP stated in its separate litigation against

Godlevsky that it is a “high-frequency trading firm,” but provided Quantlab with the following


8
     See, e.g., Exhibit D, Nos. 1-16, 24-37, 55-63, 66-86, 99, 101-103.
9
     See Exhibit A, pp. 2-3.
10
     See, e.g., Exhibit L, ¶ 20 (“computer code”); Exhibit M, Affidavit of SXP Director of Trading Andrew
     Karrels, ¶¶ 2-3 (using terms “high-frequency trading,” “trading strategy,” and “automated trading”).

                                                     5
     Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 6 of 15




absurd written discovery response in this suit:

            Request for Admission No. 2: SXP is engaged in high-frequency trading.

            Response: SXP objects to this request because it is vague and ambiguous, and
            it incorporates its objection to the definition of “high-frequency trading.”
            Based solely on its objections, SXP denies the request.11

This type of obstructionist response is symptomatic of SXP’s entire approach to discovery in this

case and is beyond any possible justification.

         Likewise, SXP has improperly tried to avoid answering many of Quantlab’s First RFAs

by claiming that it could not possibly do so until Quantlab pinpoints every specific Quantlab file

or piece of code at issue in this case. This is nonsense, and the following response illustrates the

absurd lengths to which SXP has gone to avoid providing relevant discovery on these grounds:

            Request for Admission No. 24: Godlevsky provided to SXP computer code
            that was developed at Quantlab.

            Response: SXP incorporates herein its objection to the definition of computer
            code, and therefore also objects to the phrase “computer code developed at
            Quantlab” because it is vague and ambiguous. Further, until Quantlab
            identifies with specificity what computer code was developed at Quantlab and
            is at issue in this case, SXP lacks information sufficient to respond to this
            request and, therefore denies it.12

Although SXP supposedly cannot admit or deny this RFA, SXP has constructed an entire lawsuit

against Godlevsky based on the very same proposition, explicitly alleging in that case that

“Godlevsky was responsible for loading those Quantlab computer code or files onto Godlevsky’s

SXP computer, and he subsequently accessed some of those files.”13 SXP clearly knows that it

has Quantlab code and files. And the Justice Department even provided SXP with a 95-page list

11
     Compare Exhibit M, ¶ 2, with Exhibit D, No. 2. Quantlab even defined the term “high-frequency
     trading” in its requests as “buying and selling the same security on the same day or intraday trading.”
     Exhibit A, p. 2. As a result—and in addition to using the same term in its own pleadings—there
     could be no legitimate doubt as to the term’s meaning in the context of Quantlab’s request.
12
     Exhibit D, No. 24 (emphasis added).
13
     Exhibit L, ¶ 20.

                                                     6
     Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 7 of 15




specifically identifying Quantlab files on SXP’s computers, in case there was any doubt. SXP

cannot simply feign ignorance to avoid answering relevant discovery. Nor is discovery some

game or quiz requiring Quantlab to successfully pinpoint and recite the identity of all of the

stolen code and other files before SXP must admit to having them.

         SXP’s objections to Quantlab’s First RFA Nos. 1-16, 24-37, 55-63, 66-86, 99, and 101-

103 should be overruled, and the Court should order SXP to fully answer those RFAs.

B.       Quantlab Is Entitled to Non-Evasive Answers to Its First Set of Interrogatories

         SXP has also unjustifiably refused to answer a number of basic interrogatories served by

Quantlab, including its First Set of Interrogatories Nos. 5-9, and 13. Those interrogatories seek

the following categories of information:

                The identity of the investors in SXP (i.e., its owners) (Interrogatory No. 5);

                The identity of the Quantlab code, files, and other property in SXP’s possession,

                 custody, or control (Interrogatory Nos. 6-7);

                The identity of the current and former Quantlab employees with whom SXP

                 discussed Quantlab’s trading strategy or trading technology (Interrogatory No. 8);

                The identity of the SXP employees who had access to that Quantlab property

                 while at SXP (Interrogatory No. 13); and

                The identity of the computers and other electronic storage devices seized by the

                 FBI in March 2008, the primary user of those devices prior to their seizure, and

                 where they have been kept and whether they have been used since being returned

                 to SXP by the FBI (Interrogatory No. 9).14

14
     See Exhibit F, Nos. 5-9, 13. SXP recently served supplemental answers to some of Quantlab’s First
     Set of Interrogatories (attached as Exhibit N). However, those supplemental answers are entirely self-
     serving, largely supplement answers other than those complained about herein, and—for the answers
     [footnote continued on next page . . . ]

                                                     7
     Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 8 of 15




In short, these interrogatories seek facts regarding the nature, extent, and circumstances of SXP’s

unauthorized possession and misuse of Quantlab intellectual property, as well as the owners of

the company that has engaged in that wrongdoing against Quantlab. These are some of the most

basic “who, what, when, and where” facts underlying Quantlab’s claims in this case.

         The detailed discovery supplementation letter from Quantlab’s counsel to SXP’s counsel

on December 20, 2011 (attached as Exhibit G) further explains the relevance of the information

sought by each of the above-listed interrogatories and the impropriety of SXP’s objections to

them. Because SXP has no valid objection to the First Set of Interrogatories Nos. 5-9, and 13,

the Court should overrule the asserted objections and order that SXP fully answer those

interrogatories.

C.       Quantlab Is Entitled to SXP’s Production of Discoverable Documents

         In addition to ordering that SXP must fully answer the RFAs and interrogatories outlined

above, the Court also should order SXP to fully respond to Quantlab’s First RFPs and to produce

the many relevant documents that it continues to withhold.

         1.      Documents SXP Has Already Agreed to Produce

         SXP has agreed (but failed) to produce documents responsive to Quantlab’s First RFP

Nos. 1, 3-8, 26, 33-42, 96, 97, 100-102, 104, 105, 111, 114, 116, 119, 125, 127-29, 131, and

135.15 Because there is no justification for SXP’s continued withholding of those documents, the

Court should order their production.



     at issue herein—do nothing to resolve their deficiencies. In addition, SXP has now produced the FBI
     inventory of property seized from its offices in March 2008, which SXP stated would provide the
     answer to Interrogatory No. 9. But that inventory (attached as Exhibit O) reveals little more than
     serial numbers or general descriptions of items and do not indicate who used the devices, where they
     have been kept since being returned to SXP, or whether they have been used since that return—all of
     which is information sought by Interrogatory No. 9.
15
     See Exhibit E.
                                                    8
     Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 9 of 15




         2.       Documents SXP “Believes” It Does Not Have

         In response to many of Quantlab’s other requests—i.e., First RFP Nos. 51-88, 94, 98-99,

106, 110, 112-113, 120, 124, 126, 136—SXP stated only that it “believes” it has no responsive

documents. This non-committal statement by SXP is not sufficient. The Federal Rules of Civil

Procedure require SXP to conduct a diligent search for all requested information within the scope

of discovery and indicate whether it, in fact, has any responsive documents. See Kamatani v.

BenQ Corp., No. 2:03-CV-437, 2005 U.S. Dist. LEXIS 42763, at *15 (E.D. Tex. Aug. 5, 2005)

(stating that parties have a “duty to conduct a diligent search and investigation into the existence

of documents relating to the issues in the case”) (unreported case attached as Exhibit P).

         Based on the facts already uncovered, it is also clear that a statement by SXP that no

responsive documents exist would surely be incorrect for a number of the above-listed requests.

For example, First RFP Nos. 51-62 and 84-88 seek Quantlab property, documents, and code

brought to SXP by the individual defendants in this case, including the following:

              Request No. 60: All Quantlab computer code provided to SXP by Godlevsky.

              Response: SXP objects to this request because it is vague, ambiguous, and
              overly broad, and incorporates by reference its objection to the definition of
              “computer code.” Further, SXP objects because the request seeks documents
              irrelevant to the parties claims and defenses until Quantlab identifies the
              various computer code . . . that it contends constitute its trade secrets in this
              case. Subject to and without waiving these objections and the foregoing
              general objections, SXP states that it believes it has no documents responsive
              to this request however it is interpreted.16

Considering SXP’s suit against Godlevsky in Wisconsin and its allegations that Godlevsky “was

responsible for loading” Quantlab code and files onto SXP computers, SXP’s supposed “belief”

that it has no documents responsive to Request No. 60 must certainly be false. The veracity of a

number of SXP’s other responses is similarly questionable in light of the Justice Department’s

16
     Exhibit E, No. 60.

                                                    9
     Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 10 of 15




independent findings.17 The Court should order SXP to fully and properly respond to Quantlab’s

First RFP Nos. 51-88, 94, 98-99, 106, 110, 112, 113, 120, 124, 126, and 130.

         3.       Relevant Documents SXP Has Refused to Produce

         SXP has also responded to many of Quantlab’s document requests by raising meritless

objections and simply refusing to produce the relevant documents they seek. Those requests

seek the following categories of documents:

                 SXP’s business plans and documents showing the mission and objectives of SXP

                  (RFP Nos. 11-12);

                 Basic financial documents for SXP, such as periodic balance sheets, profit-and-

                  loss statements, and revenue reports (RFP Nos. 15-25);

                 Documents and communications concerning Defendant Anna Maravina, a former

                  Quantlab employee that claims to know next to nothing about SXP but is central

                  to the Justice Department’s findings regarding the thefts at issue (RFP No. 31);

                 Documents relating to Quantlab’s business that SXP received from Defendants

                  Kuharsky, Godlevsky, Maravina, and An (all former Quantlab employees) (RFP

                  Nos. 43-50);

                 Quantlab documents, code, and electronic files provided to SXP by Defendants

                  Kuharsky, Godlevsky, Maravina, and An (RFP Nos. 51-62);18


17
     Compare Exhibit H, August 30, 2011 Letter from AUSA Robert Johnson to Criminal Counsel, with,
     e.g., Exhibit E, Nos. 51-52, 54-56, 58-59.
18
     SXP stated that it “believes” it has no documents responsive to these requests. As already discussed
     above, those responses are surely incorrect or highly suspect in light of SXP’s own pleadings in other
     litigation (i.e., its Wisconsin suit against Godlevsky) and the findings of the Justice Department’s
     independent investigation. Quantlab includes First RFP Nos. 51-62 again in this section of the
     motion because, based on SXP’s refusal to produce documents in response to similar requests (e.g.,
     RFP Nos. 43-50), Quantlab is relatively certain that SXP likewise will refuse to voluntarily produce
     all documents responsive to First RFP Nos. 51-62, when they finally admit to having them.

                                                    10
     Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 11 of 15




               Quantlab code, documents, and other property in SXP’s possession, custody, or

                control (RFP Nos. 84-88);

               Communications and other documents in SXP’s possession, custody, or control,

                discussing Quantlab’s business, trading models, algorithms, methods, or strategies

                (RFP Nos. 89-91);

               Computer code, trading strategies, and trading technologies developed by former

                Quantlab employees Kuharsky, Godlevsky, and An on behalf of SXP (RFP Nos.

                28-30, 107, 121, 132);

               Communications and other documents regarding SXP’s initial decision to engage

                in high-frequency trading, to engage in pairs trading,19 and to use Quantlab code

                (First RFP Nos. 92-94);

               Communications and other documents regarding the termination of Godlevsky’s

                SXP employment, which SXP did not object to producing and, instead, originally

                stated that no responsive documents exist (First RFP No. 118);

               Invoices, bills, and other documents related to the forensic extraction, destruction,

                or deletion of electronic data from SXP’s computers since the FBI search warrant

                execution in March 2008 (First RFP No. 139); and

               Agreements between SXP and service providers involved in its trading activities,

                including for brokerage, exchange, and data feed services (First RFP No. 148).

19
     Kuharsky and Godlevsky (two of SXP’s co-founders) both testified in depositions in a prior lawsuit
     that SXP was not planning on engaging in high frequency trading but, instead, would be exploring
     pairs trading, which is different from Quantlab’s high-frequency strategy. Exhibit I, Godlevsky
     Depo., 144:13-145:10; Exhibit J, Kuharsky Depo., 122:14-123:6. Quantlab strongly believes that
     Kuharsky and Godlevsky provided that testimony to defraud Quantlab into believing that SXP was
     not a competitor and, therefore, Kuharsky and Godlevsky would have no use at SXP for Quantlab’s
     confidential and proprietary information regarding its high-frequency trading strategy. SXP’s
     decision to develop a high frequency strategy—the same industry niche as Quantlab—after two of its
     co-founders reported that it was not considering doing so is relevant.

                                                  11
    Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 12 of 15




Quantlab’s December 20, 2011 discovery supplementation letter to SXP (Exhibit G to this

motion) provides a detailed analysis of why each of these document categories is relevant and

discoverable. In short, SXP’s objections to these requests are invalid in light of the claims and

detailed allegations set forth in Quantlab’s Second Amended Complaint. Those objections

should be overruled and SXP should be ordered to produce the documents sought by the above-

listed First RFPs.

                                              VI.
                                          CONCLUSION

       For the foregoing reasons (and the reasons stated in the attached December 20 discovery

supplementation letter to SXP’s counsel), Quantlab requests that the Court order SXP to provide

full and complete answers or responses to:

              Quantlab’s First RFA Nos. 1-16, 24-37, 55-63, 66-86, 99, and 101-103.

              Quantlab First Set of Interrogatories Nos. 5-9, and 13; and

              Quantlab’s First RFP Nos. 1, 3–8, 11–12, 15–26, 28–31, 33–94, 96–102, 104–

               107, 110–113, 116, 118–121, 124–129, 131–132, 135–136, 139, and 148.

In addition, Quantlab requests all other and further relief to which it may justly be entitled.




                                                 12
   Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 13 of 15




                                       Respectfully submitted,


                                       /s/ Allan H. Neighbors, IV
Of Counsel:                           Allan H. Neighbors, IV
Tim McInturf                          (Attorney-in-Charge)
Texas Bar No. 00788020                Texas Bar No. 24033660
S.D. Tex. Bar No. 18058               S.D. Tex. Bar No. 34398
Simon J. Garfield                     LITTLER MENDELSON, P.C.
Texas Bar No. 24040957                1301 McKinney, Suite 1900
S.D. Tex. Bar No. 634831              Houston, Texas 77010
QUANTLAB FINANCIAL, LLC               713.951.9400 (Telephone)
4200 Montrose Blvd., Suite 200        713.951.9212 (Facsimile)
Houston, Texas 77006                  aneighbors@littler.com
713.400.5917 (Telephone)
713.400.5918 (Facsimile)
tmcinturf@littler.com

M. Scott McDonald
Texas Bar No. 13555505
S.D. Tex. Bar No. 9500                 ATTORNEYS FOR PLAINTIFFS
Tim Rybacki                            QUANTLAB TECHNOLOGIES LTD. (BVI)
Texas Bar No. 24056248                 AND QUANTLAB FINANCIAL, LLC
S.D. Tex Bar No. 718501
Travis J. Odom
Texas Bar No. 24056063
S.D. Tex. Bar No. 997750
LITTLER MENDELSON, P.C.
1301 McKinney, Suite 1900
Houston, Texas 77010
713.951.9400 (Telephone)
713.951.9212 (Facsimile)
smcdonald@littler.com

Tim Headley
Texas Bar No. 09325210
S.D. Tex. Bar No. 1003
THE TIM HEADLEY LAW FIRM
7941 Katy Freeway, Suite 506
Houston, Texas 77024
713.467.8500 (Telephone)
713.467.8501 (Facsimile)
HeadleyIPLaw@gmail.com




                                     13
   Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 14 of 15




                             CERTIFICATE OF CONFERENCE

       I certify that on December 20, 2011, I sent a detailed letter to David Hanson, counsel for
SXP Analytics, to confer on the discovery matters at issue in this motion. A copy of that letter is
attached hereto as Exhibit G. Despite Quantlab’s attempts to informally resolve the matters
discussed therein, SXP has still continued to refuse (or failed to provide) the discovery that is at
issue in the foregoing motion.



                                                     /s/ Tim Rybacki
                                                     Tim Rybacki




                                                14
    Case 4:09-cv-04039 Document 158 Filed on 03/07/12 in TXSD Page 15 of 15




                                   CERTIFICATE OF SERVICE

       I hereby certify that on March 7, 2012, I electronically filed the foregoing document
using the CM/ECF system, which will automatically send notification of this filing to the
following counsel of record:

   Joseph Y. Ahmad                                James M. Cleary, Jr.
   Todd W. Mensing                                Martin, Disiere, Jefferson & Wisdom, L.L.P.
   Kinan H. Romman                                808 Travis, Suite 1800
   Ahmad, Zavitsanos & Anaipakos, P.C.            Houston, Texas 77002
   1221 McKinney Street, Suite 3460
                                                  David G. Hanson
   Houston, Texas 77010
                                                  Mark Cameli
   ATTORNEYS FOR DEFENDANT/                       Ryan Stippich
   COUNTER-PLAINTIFF VITALIY GODLEVSKY            Robert S. Jones, Jr.
                                                  Reinhart Boerner Van Deuren, S.C.
   David C. Holmes                                1000 North Water Street, Suite 1700
   Law Offices of C. David Holmes                 Milwaukee, Wisconsin 53202
   13201 Northwest Freeway, Suite 800
                                                  ATTORNEYS FOR DEFENDANTS SXP
   Houston, Texas 77040
                                                  ANALYTICS, LLC AND EMMANUEL
   ATTORNEYS FOR DEFENDANTS                       MAMALAKIS
   ANNA MARAVINA AND ANDRIY KUHARSKY


                                                  /s/ Tim Rybacki
                                                  Tim Rybacki


      I hereby further certify that on March 7, 2012, a true and correct copy of the foregoing
document was served on the following persons via first class U.S. mail and e-mail:

         Ping An
         P.O. Box 133353
         Spring, Texas 77390
         PingA2018@hotmail.com
         PRO SE DEFENDANT

                                                  /s/ Tim Rybacki
                                                  Tim Rybacki




Firmwide:109717461.1 038021.1013



                                             15
